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                                          U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                            June 11, 2017

By ECF

The Honorable Naomi Reice Buchwald
United States District Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse, Room 2270
500 Pearl Street
New York, New York 10007

                       Re:     United States v. Lena Lasher,
                               S5 12 Cr. 868 (NRB)

Dear Judge Buchwald:

         The Government respectfully writes to advise the Court that information technology
personnel have informed the Government that all videos on the DVR discussed in the
Government’s letter of March 3, 2017 have been extracted and placed on an external hard drive of
a type that is believed to be acceptable to the Federal Bureau of Prisons. If it is such a type (which
the Government intends to confirm), the Government will send the hard drive to Lena Lasher. If
it is not, the Government will send the hard drive to whomever Lasher designates.

                                               Respectfully submitted,

                                               JOON H. KIM
                                               Acting United States Attorney

                                        By:     s/ Daniel C. Richenthal
                                               Daniel C. Richenthal
                                               Kristy J. Greenberg
                                               Assistant United States Attorneys
                                               (212) 637-2109/2469

cc:    (By First Class Mail)

       Lena Lasher
       Federal Register Number 67662-054
       FCI Danbury
       Federal Correctional Institution
       Route 37
       Danbury, CT 06811
